






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00091-CV






Andre Joel Howard, Appellant



v.



Harris County Hospital District and TWCC, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT


NO. D-1-GN-05-003705, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N



	Andre Joel Howard filed a notice of appeal on February 7, 2008.  He has perfected
appeal from his "Motion to Extend Time to File Motion to Reconsider Mandate Motion to Amend
Plaintiff's Motion to Appeal Motion to Reinstate."  An appeal lies only from a final judgment
or&nbsp;appealable interlocutory order.  Lehmann v. Har-Con Corp., 988 S.W.2d 415, 417 (Tex. 2001)
(final&nbsp;judgment); Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014 (West Supp. 2007) (categories of
appealable interlocutory orders).  Appellant's previous appeal in the same underlying cause was
dismissed by this Court for want of jurisdiction because he attempted to appeal orders that were
not&nbsp;subject to appeal.  See Howard v. Harris County Hosp. Dist., No. 03-06-00488-CV, slip. op. 
(Tex. App.--Austin Sept. 7, 2006).  His motion to reinstate the appeal was denied by this Court. 
The Texas Supreme Court denied his petition for review.  Howard v. Harris County Hosp. Dist.,
No.&nbsp;07-330, 2007 Tex. LEXIS 571, *1 (Tex. 2007).  The time has long since passed for any further
review of this Court's dismissal of his previous attempted appeal.  The order from which he now
attempts to appeal is not appealable. (1) 

	We dismiss the appeal for want of jurisdiction. (2)  See Tex. R. App. P. 42.3(a).



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Pemberton and Waldrop


Dismissed for Want of Jurisdiction


Filed:   March 12, 2008
1.        Of course, given that his appeals have been dismissed for lack of an appealable order, his case
remains pending in the trial court.
2.        Appellant's pending motion to proceed as an indigent is dismissed.


